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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MONTE GLASCOE,
    Petitioner,
                                                         Criminal No. ELH-13-0629
        v.                                               Related Civil No.: ELH-16-1678

UNITED STATES OF AMERICA,
        Respondent.

                                       MEMORANDUM

        Monte Glascoe, who is now self-represented, filed a motion to vacate, through counsel,

under 28 U.S.C. § 2255, based on Johnson v. United States, ___ U.S. ___, 135 S. Ct. 2552 (2015).

ECF 116. The Federal Public Defender’s Office (“FPD”) subsequently filed a supplement,

pursuant to Sessions v. Dimaya, ___ U.S. ___, 138 S. Ct. 1204 (2018). ECF 122. I shall refer to

ECF 116 and ECF 122 collectively as the “Petition.” The petition challenges the constitutionality

of Glascoe’s conviction under 18 U.S.C. § 924(c).

        Following the Fourth Circuit’s decision in United States v. Mathis, 932 F.3d 242 (4th Cir.

2019), the FPD moved to withdraw as counsel. ECF 145. I granted that motion. ECF 146.

Thereafter, the government filed an opposition to the Petition. ECF 153. No reply was filed.

        A hearing is unnecessary to resolve the Petition. For the reasons that follow, I shall deny

the Petition.

                                  I.     Procedural Background1

        On January 16, 2014, Monte Glascoe and two others were charged in an eight-count

Superseding Indictment. ECF 27. Seven counts are relevant to Petitioner: conspiracy to commit


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        The case was originally assigned to Judge William D. Quarles, Jr. It was reassigned to
me due to the retirement of Judge Quarles.
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Hobbs Act robbery, in violation of 18 U.S.C. § 1951(a) (Count One); three counts of Hobbs Act

robbery, in violation of 18 U.S.C. § 1951(a) (Counts Two, Four, and Six); and three counts of

possession of and brandishing a firearm in furtherance of a crime of violence, in violation of 18

U.S.C. § 924(c) (Counts Three, Five, and Seven). Of relevance here, the Superseding Indictment

identified the Hobbs Act conspiracy charged in Count One and the Hobs Act robbery charged in

Count Two as the predicate crimes of violence to support the § 924(c) charge in Count Three. See

ECF 27 at 6.

       Petitioner entered a plea of guilty on June 24, 2014, to Counts Two and Three of the

Superseding Indictment. ECF 53 (Rearraignment); ECF 57 (Plea Agreement). Count Two

concerned the robbery of a 7-Eleven store in Baltimore on July 26, 2013. ECF 27 at 5. And,

Count Three charged the corresponding violation of § 924(c).

       In the Plea Agreement, the parties stipulated to the offense elements of both offenses. As

to Count Three, the Plea Agreement provided, ECF 57, ¶ 2:

       That on or about July 26, 2013, in the District of Maryland,

       a. The Defendant committed a crime of violence, specifically Hobbs Act Robbery,
          as charged in Count Two of the Superseding Indictment, for which he might be
          prosecuted in a court of the United States; and

       b. The Defendant knowingly possessed and brandished a firearm in furtherance of
          the commission of the crime charged in Count Two of the Superseding
          Indictment.

       On September 25, 2014, the Honorable William D. Quarles, Jr. sentenced Petitioner to 24

months’ imprisonment as to Count Two, and to 84 months’ imprisonment, consecutive, as to Count

Three, resulting in a total sentence of 108 months. ECF 82 (Judgment). Counts One, Four, Five,

Six, and Seven were dismissed on the government’s motion. Id. Petitioner did not appeal his

conviction or sentence.



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        Thereafter, on May 26, 2016, Glascoe filed a Petition under 28 U.S.C. § 2255, pursuant to

the Supreme Court’s ruling in Johnson v. United States, 135 S. Ct. 2551 (2015). ECF 116. In

Johnson, the Supreme Court ruled that the residual clause of the Armed Career Criminal Act’s

definition for violent felony, at 18 U.S.C. § 924(e)(2)(B)(ii), was unconstitutionally vague. Id. at

2558.

        Then, on April 4, 2019, Petitioner, through counsel, filed a supplement to his Petition,

citing Sessions v. Dimaya, 138 S. Ct. 1204 (2018). In Dimaya, the Supreme Court applied Johnson

to the residual clause of the crime of violence definition in 18 U.S.C. § 16(b). Id. at 1210.

Petitioner also asked the Court to hold his case in abeyance pending the outcome of the Supreme

Court’s decision in United States v. Davis, 139 S. Ct. 2319 (2019). ECF 122. On June 24, 2019,

the Supreme Court issued its decision in Davis, ruling that the “residual clause” definition of a

crime of violence in 18 U.S.C. § 924(c)(3)(B) was unconstitutionally vague. Id. at 2334.

        However, the Fourth Circuit has since determined that Hobbs Act robbery, in violation of

18 U.S.C. § 1951(a), still qualifies as a crime of violence under the force clause of 18 U.S.C. §

924(c). See United States v. Mathis, 932 F.3d 242, 266 (4th Cir. 2019), cert. denied sub nom.

Uhuru v. United States, 140 S. Ct. 639 (2019), and Stokes v. United States, 140 S. Ct. 640 (2019).

As a result, the FPD moved to withdraw as counsel in this matter. ECF 145. And, I granted that

motion. ECF 146. Therefore, Petitioner is now proceeding pro se.

                                          II.     Discussion

                                                A.

        The grounds for collateral relief under 28 U.S.C. § 2255 are narrower than those for relief

on direct appeal. A motion under 28 U.S.C. § 2255 allows a prisoner in federal custody to

challenge the legality of a federal sentence on four grounds: (1) the sentence was imposed in



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violation of the Constitution or laws of the United States; (2) the sentencing court lacked

jurisdiction; (3) the sentence exceeded the maximum authorized by law; or (4) the sentence is

otherwise subject to collateral attack. See 28 U.S.C. § 2255. See Hill v. United States, 368 U.S.

424, 426-27 (1962); United States v. Hodge, 902 F.3d 420, 426 (4th Cir. 2018); United States v.

Middleton, 883 F.3d 485 (4th Cir. 2018); United States v. Newbold, 791 F.3d 455, 459 (4th Cir.

2015).

         Under § 2255, the Petitioner must establish (1) an error of constitutional magnitude; (2) a

sentence imposed outside the statutory limits; or (3) an error of fact or law so fundamental as to

render the entire proceeding invalid. Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003).

Notably, “an error of law does not provide a basis for collateral attack unless the claimed error

constituted ‘a fundamental defect which inherently results in a complete miscarriage of justice.’”

United States v. Addonizio, 442 U.S. 178, 185 (1979) (quoting Hill, 368 U.S. at 428).

         Under 28 U.S.C. § 2255(b), the Court must hold a hearing “[u]nless the motion and the

files and records conclusively show that the prisoner is entitled to no relief . . . .” See, e.g., United

States v. White, 366 F.3d 291, 302 (4th Cir. 2004). This is such a case. No hearing is necessary.

                                                   B.

         Section 924(c) of 18 U.S.C. prohibits using or carrying a firearm “during and in relation

to,” or possessing a firearm “in furtherance of,” any federal “crime of violence or drug trafficking

crime.” 18 U.S.C. § 924(c)(1)(A). A crime of violence is defined as “an offense that is a felony”

and “(A) has as an element the use, attempted use, or threatened use of physical force against the

person or property of another, or (B) that by its nature, involves a substantial risk that physical

force against the person or property of another may b used in the course of committing the offense.”




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§ 924(c)(3). Subsection (A) of 18 U.S.C. § 924(c)(3) is commonly referred to as the “force clause”

or “elements clause,” while subsection (B) is referred to as the “residual clause.”

       As noted, in the recent case of United States v. Davis, 139 S. Ct. 2319, the Supreme Court

ruled that the residual clause in § 924(c)(3)(B) was unconstitutionally vague. See id. at 2336.

However, as indicated, Petitioner’s § 924(c) conviction as to Count Three was predicated on his

Hobbs Act robbery offense in Count Two. And, the Fourth Circuit has determined that Hobbs Act

robbery categorically qualifies as a crime of violence under the force clause in 18 U.S.C. §

924(c)(3)(A). See Mathis, 932 F.3d at 266.

       The Hobbs Act provides, 18 U.S.C. § 1951(a):

       Whoever in any way or degree obstructs, delays, or affects commerce … by robbery
       or extortion or attempts or conspires so to do, or commits or threatens physical
       violence to any person or property in furtherance of a plan or purpose to do anything
       in violation of this section shall be fined under this title or imprisoned not more
       than twenty years, or both.

       “Robbery” is defined as the taking of personal property from another “by means of actual

or threatened force, or violence, or fear of injury, immediate or future, to his person or property.”

18 U.S.C. § 1951(b)(1).

       In Mathis, the Fourth Circuit relied on its prior decision in United States v. McNeal, 818

F.3d 141 (4th Cir. 2016), and concluded that Hobbs Act robbery requires the use, attempted use,

or threat of physical force, even when the offense only involves “fear of injury,” because that term

is synonymous with “intimidation,” which necessarily “involves the threat to use [physical] force.”

Mathis, 932 F.3d at 266.

       Clearly, Petitioner’s conviction for the Hobbs Act robbery charged in Count Two of the

Superseding Indictment qualifies as a crime of violence under the force clause. The conviction




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under Count Three, pursuant to 18 U.S.C. § 924(c), was predicated on that crime. Thus, it remains

valid.

                                            III.    Conclusion

          For the reasons stated herein, I shall deny the Petition. A Certificate of Appealability shall

not issue.

          Pursuant to Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. § 2255, the

court is required to issue or deny a certificate of appealability (“COA”) when it enters a final order

adverse to the applicant. A COA is a “jurisdictional prerequisite” to an appeal from the court's

earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007). In other words, unless

a COA is issued, a petitioner may not appeal the court's decision in a § 2255 proceeding. 28 U.S.C.

§ 2253(c)(1); Fed. R. App. P. 22(b).2

          A COA may issue “only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2); see Buck v. Davis, ___ U.S. ___, 137 S. Ct. 759, 773

(2017). Where the court denies a petitioner’s motion on its merits, a petitioner satisfies this

standard by demonstrating that reasonable jurists would find the court’s assessment of the

constitutional claims debatable or wrong. See Tennard v. Dretke, 542 U.S. 274, 282 (2004); Slack

v. McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38

(2003).

          Petitioner has not made a substantial showing of the denial of his constitutional rights.

Therefore, I decline to issue a COA.




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       The denial of a COA by the district court does not preclude Petitioner from seeking a
COA from the Fourth Circuit.

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      An Order follows.



Date: August 3, 2020                                     /s/
                                          Ellen L. Hollander
                                          United States District Judge




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